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 1   BLACKMON & ASSOCIATES
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 5   Attorneys for Defendant
     ERIC LOREN CLAWSON
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 7
                 IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                        EASTERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,                 Case No. 2:09-CR-0097 MCE
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                Plaintiff,
12
          vs.                                  STIPULATION AND ORDER
13                                             MODIFYING CONDITIONS OF
     ERIC LOREN CLAWSON,                       RELEASE
14
     JOE GRIVETTE,
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                Defendants.
16
17
          IT IS HEREBY STIPULATED by Eric Loren Clawson, through his
18
     counsel Blackmon & Associates, by the United States of America,
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     through its counsel, Assistant U.S. Attorney Russell L.
20
     Carlberg, and by the United States Pretrial Services Office for
21
     the Eastern District of California, through Pretrial Services
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     Officer Beth Baker that Mr. Clawson’s Conditions of Release be
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     modified in accord with this stipulation.
24
          Mr. Clawson’s release was ordered on April 24, 2009,
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     subject to multiple conditions as specified on the record. The
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     conditions were modified on the stipulation of counsel on April
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 1   30, 2009, clarifying that Mr. Clawson is prevented from the
 2   consumption of any alcohol while on pretrial release.
 3        One of the conditions of Mr. Clawson’s release required
 4   that his sister, Emily Clawson, serve as third party custodian.
 5   Emily Clawson has served in that capacity since the time of Mr.
 6   Clawson’s release.    They reside together in San Francisco,
 7   California, at Emily Clawson’s residence.        Emily Clawson is
 8   currently enrolled and plans to attend an educational program in
 9   Southern California beginning in September 2009. This means that
10   Emily Clawson cannot continue to serve as a full-time third
11   party custodian.
12        To address this situation and to ensure the necessary
13   supervision of Mr. Clawson, the parties stipulate that starting
14   on September 3, 2009, third party custodian duties will be
15   shared between Emily Clawson and Mr. Clawson’s parents, Roger
16   and Anne Clawson.    In addition, the parties stipulate that Mr.
17   Clawson’s aunt, Geraldine Genstler, will serve as a backup third
18   party custodian.    All three proposed additional third party
19   custodians have reviewed the terms and conditions of pretrial
20   release, and all three understand their responsibilities as
21   third party custodians for Mr. Clawson.        The parties further
22   agree and stipulate that the sharing of third party custodian
23   duties in this manner will ensure adequate supervision of Mr.
24   Clawson and his continuing compliance with all terms and
25   conditions of release and with all court orders.
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 1        Based on the foregoing, the parties hereby stipulate that
 2   the terms and conditions of Mr. Clawson’s release shall be
 3   modified so that, in addition to Emily Clawson, Roger Clawson,
 4   Anne Clawson and Geraldine Genstler will also serve as third
 5   party custodians. The parties further stipulate that primary
 6   third party custodian duties will be performed by Emily, Roger
 7   and Anne Clawson, with Geraldine Genstler serving in case of an
 8   unforeseen emergency or other complication.        It is further
 9   agreed that at least one third party custodian will be present
10   in Mr. Clawson’s home each day, including overnight.             Mr.
11   Clawson will continue to live at Emily Clawson’s residence.
12        The parties stipulate to the following proposed schedule of
13   third party custodian duties:
14        Emily Clawson, current through September 2, 2009
15        Roger Clawson, September 3-13, 2009
16        Anne Clawson, September 14, 2009-October 17, 2009
17        Roger Clawson, October 18-25, 2009
18        Anne Clawson, October 26, 2009-November 21, 2009
19        Roger Clawson, November 22-25, 2009
20        Emily Clawson, November 26-29, 2009
21        Anne Clawson, November 30, 2009-December 18, 2009
22        Emily Clawson, December 18, 2009-January 3, 2010
23        The parties also stipulate that Geraldine Genstler will
24   serve as an emergency backup third party custodian, should that
25   need arise.   In the event that no resolution to this matter has
26   been arrived at prior to January 3, 2010, counsel for Mr.
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 1   Clawson will submit a further proposed schedule to Assistant
 2   U.S. Attorney Carlberg and to Pretrial Services Officer Baker
 3   for their approval, and will request a further modification from
 4   the court accordingly.
 5        Copies of fully executed Third Party Custody Agreements
 6   from Roger Clawson, Anne Clawson and Geraldine Genstler are
 7   attached hereto.    Upon approval of this proposed modification,
 8   counsel for Mr. Clawson will submit originals to the Court.
 9
10   IT IS SO STIPULATED.
11
     DATED:     July 21, 2009             By: //s// Emily E. Doringer for
12                                             RUSSELL L. CARLBERG
13                                             Assistant U.S. Attorney

14   DATED:     July 21, 2009             By: //s// Emily E. Doringer for
                                               BETH BAKER
15                                             U.S. Pretrial Services
16                                             Officer

17   DATED:     July 21, 2009
                                          By: _//s// Emily E. Doringer___
18                                             Emily E. Doringer
19                                             Attorney for Defendant
                                               Eric Loren Clawson
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 1                                     ORDER
 2        This matter having come before me pursuant to the
 3   stipulation of the parties and good cause appearing therefore,
 4        IT IS ORDERED THAT: In addition to Emily Clawson, defendant
 5   is placed in the third party custody of his father, Roger
 6   Clawson, his mother, Anne Clawson, and his aunt, Geraldine
 7   Gentsler.   Primary third party custodian duties shall be shared
 8   collectively by Roger, Anne and Emily Clawson, pursuant to the
 9   schedule proposed by the parties.       Geraldine Gentsler will serve
10   as an emergency backup third party custodian.
11        All other Conditions of Release shall remain in effect.
12        IT IS SO ORDERED.
13   DATED: July 24, 2009
14                                  __________________________________
15                                  MORRISON C. ENGLAND, JR
                                    UNITED STATES DISTRICT JUDGE
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